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September 19, 2017

VIA ELECTRONIC CASE FILING

The Honorable Gary R. Brown
United States Magistrate Judge
United States District Court
Eastern District of New York
100 Federal Plaza

Central Islip, NY 11722

Re: Piccolo v. Top Shelf Provisions, et al.

16-CV-06930 (GRB)

Your Honor:

This firm is counsel to Louis Piccolo, Plaintiff, in the above-referenced action.
We respectfully submit the foregoing in support of our Motion to Strike several of
Defendants’ Affirmative Defenses pursuant to Fed. R. Civ. P. 12(f). The parties met and
conferred telephonically on this matter on September 13, 2017 and were unable to resolve
the issue.

Applicable Legal Standard

Federal Rule of Civil Procedure 12(f) provides that a party may make a motion to
strike any affirmative defenses within 21 days after service of a pleading to which no
responsive pleading is permitted. See Fed. R. Civ. P. 12(f). Rule 12(f) permits the Court
to “strike from a pleading an insufficient defense or any redundant, immaterial,
impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). A court may strike a defense as
insufficient where “(1) there is no question of fact which might allow the defense to
succeed; (2) there is no question of law which might allow the defense to succeed; and
(3) the plaintiff would be prejudiced by the inclusion of the defense.” Equal Employment
Opportunity Comm'n v. United Parcel Serv., No. 15-CV-4141 (MKB) (CLP), 2017 WL
2829513, at *6 (E.D.N.Y. June 29, 2017). Increased time and expense of trial may
constitute sufficient prejudice to warrant striking an affirmative defense. /d.
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September 19, 2017
Page 2 of 4

Defendants’ Ninth Affirmative Defense

Defendants’ Ninth Affirmative Defense seeks to hold Plaintiff accountable for
their failure to satisfy their obligations under the FLSA and NYLL to record the number
of hours worked by Plaintiff and other potential collective and class action members.

. Defendants’ Tenth Affirmative Defense

It constitutes bad faith for Defendants to suggest, as they do here, that Plaintiff's
claims should be barred for his own alleged bad faith or inequitableness. Plaintiff has not
engaged in any conduct that could be considered “unclean.” See Obabueki v. Int'l Bus.
Machs. Corp., 145 F.Supp.2d 371, 401 (S.D.N.Y.2001) (striking unclean hands defense
explaining that pleading the words “unclean hands” without more offered the plaintiff no
indication about how the doctrine would bar his claims).

Defendants’ Eleventh Affirmative Defense

Plaintiff has never waived any of his rights under the FLSA or the NYLL.
Defendants’ affirmative defense serves no legitimate purpose. Rather it is brought only to
harass, cause further undue delay, and seeks.to exhaust party time and resources in
successfully defeating the affirmative defense.

Defendants’ Thirteenth Affirmative Defense

Defendants have not been prejudiced in any way based upon time timeliness of
Plaintiff's litigation. Defendants’ affirmative defense is brought only to harass, cause
further undue delay, and seeks to exhaust party time and resources in successfully
defeating the affirmative defense.

Defendants’ Fourteenth Affirmative Defense

Defendants’ affirmative defense is brought only to harass, cause further undue
delay, and seeks to exhaust party time and resources in successfully defeating the
affirmative defense.
Defendants’ Fifteenth Affirmative Defense

Plaintiff's claims under the FLSA and the NYLL are predicated upon Defendants’

failure to compensate Plaintiff earned, but uncompensated, overtime wages. It is well
settled that a plaintiff bringing an action for unpaid wages has no legal duty to mitigate
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September 19, 2017
Page 3 of 4

damages, See Cava v. Tranquility Salon & Day Spa, Inc., No. 13-CV-1109 (JS) (ARL),
2014 WL 655372, at *4 (E.D.N.Y. Feb. 20, 2014).

Defendants’ Seventeenth Affirmative Defense

Plaintiff sets forth viable claims under both the Fair Labor Standards Act and the
New York Labor Law. It is clear that claims for unpaid overtime under both the FLSA
and the NYLL, if successful, may result in an award of attorneys’ fees. See 29 U.S. Code
§ 216(b) and NY Lab. L. § 198.

Defendants’ Eighteenth Affirmative Defense

Plaintiff did not fail to adhere to any notice requirement prior to filing his claims
under the FLSA and NYLL. Defendants’ affirmative defense serves only to harass, cause
further undue delay, and seeks to exhaust party time and resources in successfully
defeating the affirmative defense.

Defendants’ Twenty-Seventh Affirmative Defense

Defendants fail to set forth any allegations that would factually or legally support
their assertion. Further, Defendants’ affirmative defense serves only to harass, cause
further undue delay, and seeks to exhaust party time and resources in successfully
defeating the affirmative defense

Defendants’ Thirty-Second Affirmative Defense

The cessation of Plaintiffs employment is irrelevant in this dispute centered upon
his entitlement to overtime wages for each hour worked in excess of forty (40) hours in a
given workweek. To the extent Defendants claim that Plaintiff is not entitled to overtime
wages because they could have fired him at an earlier time, had they been aware of
alleged misconduct, there is no legal support of this defense. That Defendants may have
terminated Plaintiff's employment at an earlier time has no impact on his entitlement to
overtime wages for the hours he worked.

Defendants’ Thirty-Third Affirmative Defense

It is well settled that a private cause of action exists under NYLL § 195. NYLL §
198(1)(d) states: “If any employee is not provided a statement or statements as required
by subdivision three of section one hundred ninety-five of this article, he or she shall
recover in a civil action...” Thus, it is clear, from the statutory language of the NYLL,
that a private cause of action exists under NYLL §195.

Case 2:16-cv-06930-GRB Document50_ Filed 09/19/17 Page 4 of 4 PagelD #: 157

Zabel & Associates, P.C,

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September 19, 2017
Page 4 of 4

We remain available should Your Honor require additional information regarding
this submission.

Respectfully submitted,

ZABEYL, & ASSOCIATES, P.C.

Client
Defendants’ Counsel (via Electronic Case Filing)
